               Case 18-51740-grs                  Doc 1     Filed 09/21/18 Entered 09/21/18 16:50:21                              Desc Main
                                                            Document      Page 1 of 43
Fill in this information to identify your case:

United States Bankruptcy Court for the:

EASTERN DISTRICT OF KENTUCKY

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Eastern Air Flow, L.L.C.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  1066 E. New Circle Road, Suite 1                                5721 KY Route 404
                                  Lexington, KY 40505-4139                                        David, KY 41616-8301
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Fayette                                                         Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.easternairflow.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 1
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Debtor
                                                                 Document      Page 2 of Case
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          Eastern Air Flow, L.L.C.
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
                                          Chapter 9
                                          Chapter 11. Check all that apply:
                                                                  Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                 When                          Case number
                                                  District                                 When                          Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                Relationship
                                                  District                                 When                         Case number, if known




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 2
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Debtor
                                                              Document      Page 3 of Case
                                                                                       43 number (if known)
         Eastern Air Flow, L.L.C.
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.

                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor
                                                             Document      Page 4 of Case
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          Eastern Air Flow, L.L.C.
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      September 20, 2018
                                                  MM / DD / YYYY


                             X   /s/ Justin Todd Trout                                                   Justin Todd Trout
                                 Signature of authorized representative of debtor                        Printed name

                                 Title   President




18. Signature of attorney    X   /s/ Matthew B. Bunch                                                     Date September 20, 2018
                                 Signature of attorney for debtor                                              MM / DD / YYYY

                                 Matthew B. Bunch
                                 Printed name

                                 Bunch & Brock, PSC
                                 Firm name

                                 271 W. Short Street
                                 805 Security Trust Building
                                 Lexington, KY 40507-1217
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (859) 254-5522                Email address


                                 84931 KY
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
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 Fill in this information to identify the case:

 Debtor name         Eastern Air Flow, L.L.C.

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF KENTUCKY

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          September 20, 2018                      X /s/ Justin Todd Trout
                                                                       Signature of individual signing on behalf of debtor

                                                                       Justin Todd Trout
                                                                       Printed name

                                                                       President
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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              Case 18-51740-grs                                  Doc 1              Filed 09/21/18 Entered 09/21/18 16:50:21                                                           Desc Main
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 Fill in this information to identify the case:

 Debtor name            Eastern Air Flow, L.L.C.

 United States Bankruptcy Court for the:                       EASTERN DISTRICT OF KENTUCKY

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $            38,324.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $            38,324.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $            46,000.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $           155,000.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        1,269,323.04


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           1,470,323.04




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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 Fill in this information to identify the case:

 Debtor name         Eastern Air Flow, L.L.C.

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF KENTUCKY

 Case number (if known)
                                                                                                                         Check if this is an
                                                                                                                         amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                        12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
       Yes Fill in the information below.
    All cash or cash equivalents owned or controlled by the debtor                                                       Current value of
                                                                                                                         debtor's interest

 Part 2:        Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable


           11b. Over 90 days old:                               239,983.06   -                       232,899.06 =....                  $7,084.00
                                              face amount                        doubtful or uncollectible accounts



 12.       Total of Part 3.                                                                                                        $7,084.00
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 1
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 Debtor         Eastern Air Flow, L.L.C.                                                      Case number (If known)
                Name


        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used    Current value of
                                                                              debtor's interest      for current value        debtor's interest
                                                                              (Where available)

 39.       Office furniture
           Furniture/Equipment in the Lexington store
           lease:
           Computer and misc. items and desk/chair
           (value under $100), relocated to owner's
           residence in David, KY.
           5 scrap HVAC units (removed from old homes)
           was taken to the junk yard (value worthless).
           Various scrap ductwork, taken to the junk yard
           (value worthless).
           Phone system left behind (value under $10).
           Shelve left behind (value under $10).
           Various pictures (thrown away, value
           worthless).
           Sign are still at the leased premises.                                           $0.00    N/A                                    $100.00


           Equipment/furniture in Prestonsburg store
           lease: (the landlord required all
           furniture/equipment to be removed from the
           leased premises around August 20, 2018. It is
           currently stored in owner's residence in David,
           KY.
           2 computers and misc. items and 2 desks/2
           chairs (value under $100)
           One filing cabinet $10
           Old couch $10
           Small bar (purchased from Big Lots) $10
           Old phones (purchased from Walmart) $10
           Signs (twp 12'x24' billboards and 4'8' were
           disposed)                                                                        $0.00    N/A                                    $140.00



 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software

 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 2
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 Debtor         Eastern Air Flow, L.L.C.                                                      Case number (If known)
                Name


 43.       Total of Part 7.                                                                                                                $240.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used    Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value        debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

           47.1.     2014 Ford F150, ~135,000 miles worth
                     $12-14,000 - secured to BB&T, owe
                     $18,000
                     2013 Ford Transit Van, ~200,000 miles
                     worth $5,000 - secured to M&T Bank,
                     owe $10,000
                     2014 Dodge Ram ProMaster, ~150,000
                     worth $12,000 - secured to US Bank,
                     owe $18,000                                                            $0.00    N/A                                $31,000.00



 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)

 51.       Total of Part 8.                                                                                                         $31,000.00
           Add lines 47 through 50. Copy the total to line 87.

 52.       Is a depreciation schedule available for any of the property listed in Part 8?
               No
               Yes

 53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
               No
               Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 3
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 Debtor         Eastern Air Flow, L.L.C.                                                     Case number (If known)
                Name

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.


 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                       page 4
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 Debtor          Eastern Air Flow, L.L.C.                                                                            Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                     $0.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                       $7,084.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                               $240.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                      $31,000.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                              $38,324.00          + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                  $38,324.00




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                          page 5
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                                                                     Document     Page 12 of 43
 Fill in this information to identify your case:

 Debtor 1                    Justin Todd Trout
                             First Name                     Middle Name                 Last Name

 Debtor 2
 (Spouse if, filing)         First Name                     Middle Name                 Last Name


 United States Bankruptcy Court for the:              EASTERN DISTRICT OF KENTUCKY

 Case number
 (if known)                                                                                                                               Check if this is an
                                                                                                                                          amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                    4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
           You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B
      Brief description:
      Line from Schedule A/B:
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $160,375?
    (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
              No
              Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                       No
                       Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                      page 1 of 1
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             Case 18-51740-grs                       Doc 1           Filed 09/21/18 Entered 09/21/18 16:50:21                                 Desc Main
                                                                     Document     Page 13 of 43
 Fill in this information to identify the case:

 Debtor name         Eastern Air Flow, L.L.C.

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF KENTUCKY

 Case number (if known)
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
 2.1   BB&T Bank                                      Describe debtor's property that is subject to a lien                   $18,000.00                $14,000.00
       Creditor's Name                                lien on 2014 Ford F150 by security interest
                                                      dated 11/30/2015 in Floyd County Clerk's
       PO Box 1290                                    Office
       Whiteville, NC 28472
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.2   M&T Bank                                       Describe debtor's property that is subject to a lien                   $10,000.00                 $5,000.00
       Creditor's Name                                Lien on 2013 Ford Transit filed on 11/3/2015
                                                      in Floyd County Clerk's Office
       PO Box 17292
       Baltimore, MD 21203
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply




Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 2
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 Debtor       Eastern Air Flow, L.L.C.                                                                 Case number (if know)
              Name

            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



 2.3    US Bank NA                                    Describe debtor's property that is subject to a lien                     $18,000.00           $12,000.00
        Creditor's Name                               lien on 2014 Dodge Ram ProMaster, lien filed
                                                      on 2/3/2015 in Floyd County Clerk's Office
        PO Box 3427
        Oshkosh, WI 54903
        Creditor's mailing address                    Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.              $46,000.00

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity
         Justin Todd Trout
         5721 KY RT 404                                                                                         Line   2.3
         David, KY 41616




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 2 of 2
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                                                                     Document     Page 15 of 43
 Fill in this information to identify the case:

 Debtor name         Eastern Air Flow, L.L.C.

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF KENTUCKY

 Case number (if known)
                                                                                                                                                  Check if this is an
                                                                                                                                                  amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                    Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                      $125,000.00          $125,000.00
           Internal Revenue Service                                  Check all that apply.
           PO Box 7346                                                  Contingent
           Philadelphia, PA 19101-7346                                  Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     2016 to 2018 - employee withholdings
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $30,000.00         $30,000.00
           Kentucky Revenue Cabinet                                  Check all that apply.
           Attn: Legal Dept - Bankruptcy                                Contingent
           PO Box 5222                                                  Unliquidated
           Frankfort, KY 40602-5222                                     Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     2016 to 2018 - employee withholdings
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                    page 1 of 8
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              Name

 3.1      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,000.00
          Appalachian Wireless                                                  Contingent
          Attn: any Officer                                                     Unliquidated
          PO Box 630734                                                         Disputed
          Cincinnati, OH 45263-0734
                                                                             Basis for the claim:    wireless service
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.2      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $7,847.00
          Carrier Enterprise, LLC                                               Contingent
          P.O. Box 32156                                                        Unliquidated
          New York, NY 10087-2156                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       4817
                                                                             Is the claim subject to offset?     No       Yes

 3.3      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $7,487.00
          Cintas                                                                Contingent
          P.O. Box 630910                                                       Unliquidated
          Cincinnati, OH 45263-0910                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5275
                                                                             Is the claim subject to offset?     No       Yes

 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          Clayton E. Holland, Jr.                                               Contingent
          106 Scott Perry Drive                                                 Unliquidated
          Paintsville, KY 41240                                                 Disputed
          Date(s) debt was incurred
                                                                                             terminated lease dated November 2, 2015 of premises
                                                                             Basis for the claim:
          Last 4 digits of account number                                    located at 3757 S. Highway US23, Prestonsburg, KY 41653
                                                                             Is the claim subject to offset?     No       Yes

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $24,000.00
          Corken Steel                                                          Contingent
          c/o Robert Richardson                                                 Unliquidated
          7920 Kentucky Drive                                                   Disputed
          Florence, KY 41042
                                                                             Basis for the claim:    debt owed
          Date(s) debt was incurred
                                                                             NSF checks
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,001.00
          EKB-TV                                                                Contingent
          P.O. Box 2200                                                         Unliquidated
          Pikeville, KY 41502                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Advertising fees
          Last 4 digits of account number       0245
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $876,000.00
          Ferguson Enterprises                                                  Contingent
          fdba Brock McVey                                                      Unliquidated
          c/o True Guarnieri Ayer LLP                                           Disputed
          124 Clinton Street
          Frankfort, KY 40601                                                                 collection action filed in September 2018 alleging
                                                                             Basis for the claim:
                                                                             fradulent transfers to Eastern Air Flow of Kentucky, LLC, recently
          Date(s) debt was incurred
                                                                             incorporated and owned by Taylor M. Trout, however, no assets were
          Last 4 digits of account number                                    transferred to or used by it.
                                                                             Is the claim subject to offset?     No       Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 2 of 8
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 Debtor       Eastern Air Flow, L.L.C.                                                                Case number (if known)
              Name

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $8,885.00
          FESCO                                                                 Contingent
          868 Dr. W.J. Hodge Street                                             Unliquidated
          Louisville, KY 40210                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    labor supplies
          Last 4 digits of account number       1817
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $9,000.00
          Fire Alarm & Security System Co                                       Contingent
          c/o Bornstein& Bornstein PSC                                          Unliquidated
          4018 Bishop Lane                                                      Disputed
          Louisville, KY 40218
                                                                             Basis for the claim:    collection
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $53,857.59
          First Commonwealth Bank                                               Contingent
          3112 N. Arnold Avenue                                                 Unliquidated
          Prestonsburg, KY 41653-1260                                           Disputed
          Date(s) debt was incurred
                                                                                            unpaid balance owed and guaranteed by debtor,
                                                                             Basis for the claim:
          Last 4 digits of account number       1967                         secured on debtor's owner's real estate of warehouse, located in
                                                                             Prestonsburg, KY, valued at approx. $50,000
                                                                             Is the claim subject to offset?     No       Yes

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Floyd Cty Broadcasting - WMDJ FM-100                                  Contingent
          P.O. Box 1530                                                         Unliquidated
          Martin, KY 41649                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Advertising fees
          Last 4 digits of account number       5480
                                                                             Is the claim subject to offset?     No       Yes

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $12,964.45
          FTL Capital Partners, LLC
          aka FTL Finance                                                       Contingent
          c/o Lathrop Gage - Ben C. Struby                                      Unliquidated
          2345 Grand Blvd., Suite 2200                                          Disputed
          Kansas City, MO 64108-2618
                                                                             Basis for the claim:    unpaid contract
          Date(s) debt was incurred
          Last 4 digits of account number       5147                         Is the claim subject to offset?     No       Yes


 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $14,000.00
          Gilson Plaza, LLC                                                     Contingent
          418 Adair Road                                                        Unliquidated
          Lexington, KY 40502                                                   Disputed
          Date(s) debt was incurred
                                                                                             lease of premises located at 1066 E. New Circle Road,
                                                                             Basis for the claim:
          Last 4 digits of account number                                    Suite 1, Lexington, KY, dated November 1, 2016. Lease is a 3 year
                                                                             lease through Oct 31, 2019. Rent was paid through end of August
                                                                             2018 @ $1,000 per month.
                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $6,739.00
          GPS Insight                                                           Contingent
          7201 E. Henkel Way #400                                               Unliquidated
          Scottsdale, AZ 85255                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    collections
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 3 of 8
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              Name


 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,620.00
          Gray Television Group, Inc.                                           Contingent
          1801 Halstead Blvd                                                    Unliquidated
          Tallahassee, FL 32309                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Advertising fees - WKYT; WYMT
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $13,620.00
          Hajoca Corporation                                                    Contingent
          c/o David O'Brien, Attorney @ Dal, Inc.                               Unliquidated
          PO Box 162                                                            Disputed
          Clifton Heights, PA 19018
                                                                             Basis for the claim:    debt owed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,000.00
          Hazard Fire & Safety                                                  Contingent
          3962 KY 15                                                            Unliquidated
           KY 41707                                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    fees
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $10,900.00
          Hughes Supply                                                         Contingent
          990 Pedigo Way                                                        Unliquidated
          Bowling Green, KY 42103                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    collection
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $5,900.00
          Jackson Systems, LLC                                                  Contingent
          5418 Elmwood Ave.                                                     Unliquidated
          Indianapolis, IN 46203-6025                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    collection
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          Kentucky Employer's Mutual Insurance Co                               Contingent
          c/o John E. Hinkel, Jr., Esq.                                         Unliquidated
          Fowler Bell PLLC                                                      Disputed
          300 W. Vine Street, #600
          Lexington, KY 40507                                                Basis for the claim:    collection of a debt in Fayette Circuit Court Case
                                                                             #16-CI-3315
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          Kentucky Labor Cabinet                                                Contingent
          Dept. of Workers' Claims                                              Unliquidated
          657 Chamberlin Ave.                                                   Disputed
          Frankfort, KY 40601
                                                                                            citation and civil penalty, abated, balance less than
                                                                             Basis for the claim:
          Date(s) debt was incurred
                                                                             demand letter dated January 31, 2018 of $14,000
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 4 of 8
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              Name

 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $330.00
          KochAir                                                               Contingent
          1900 W. Lloyd Expressway                                              Unliquidated
          Evansville, IN 47712                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0115
                                                                             Is the claim subject to offset?     No       Yes

 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,583.00
          Martin Gas, Inc.                                                      Contingent
          P.O. Box 783                                                          Unliquidated
          Hindman, KY 41822                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0076
                                                                             Is the claim subject to offset?     No       Yes

 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,806.00
          Modern Construction, Inc.                                             Contingent
          P.O. Box 187                                                          Unliquidated
          Stanville, KY 41659                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $417.00
          National Pen Company                                                  Contingent
          P.O. Box 847203                                                       Unliquidated
          Dallas, TX 75284-7203                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $10,000.00
          Nationwide                                                            Contingent
          328 High Land Park Dr.                                                Unliquidated
          Richmond, KY 40475                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $95,800.00
          R.E. Michel Company                                                   Contingent
          One R.E. Michel Drive                                                 Unliquidated
          Glen Burnie, MD 21060                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    collection
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $38,524.00
          R.L. Craig Company, Inc.                                              Contingent
          11524 Commonwealth Drive                                              Unliquidated
          Louisville, KY 40299                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    collection
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 5 of 8
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              Name

 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,500.00
          Sinclair Broadcast Group - WDKY                                       Contingent
          P.O. Box 206270                                                       Unliquidated
          Dallas, TX 75320-6270                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Advertising
          Last 4 digits of account number       1533
                                                                             Is the claim subject to offset?     No       Yes

 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $10,000.00
          Square Capital                                                        Contingent
          1455 Market Street, #600                                              Unliquidated
          San Francisco, CA 94103                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    fees owed
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,135.00
          State Electric Supply                                                 Contingent
          PO Box 890889                                                         Unliquidated
          Charlotte, NC 28289                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    debt owed
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,503.00
          The UPS Store                                                         Contingent
          4145 N. Mayo Trail                                                    Unliquidated
          Pikeville, KY 41501                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,100.00
          Thermal Equipment Sales, Inc.                                         Contingent
          680 Bizzell Drive                                                     Unliquidated
          Lexington, KY 40510                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       AS08
                                                                             Is the claim subject to offset?     No       Yes

 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $400.00
          Trane Supply                                                          Contingent
          115 49th Street                                                       Unliquidated
          Brooklyn, NY 11232                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    collection
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Valassis Direct Mail                                                  Contingent
          14550 Torrey Chase Blvd. #500                                         Unliquidated
          Houston, TX 77040                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 6 of 8
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             Case 18-51740-grs                       Doc 1           Filed 09/21/18 Entered 09/21/18 16:50:21                                      Desc Main
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 Debtor       Eastern Air Flow, L.L.C.                                                                Case number (if known)
              Name

 3.36      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $1,385.00
           Verizon Wireless                                                     Contingent
           524 W. New Circle Road, Ste. 100                                     Unliquidated
           Lexington, KY 40511                                                  Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    collection
           Last 4 digits of account number      0001
                                                                             Is the claim subject to offset?      No       Yes

 3.37      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $4,562.00
           W. Va. Electric Supply Co.                                           Contingent
           250 12th Street West                                                 Unliquidated
           Huntington, WV 25704                                                 Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?      No       Yes

 3.38      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $495.00
           WDOC, Inc.                                                           Contingent
           P.O. Box 345                                                         Unliquidated
           Prestonsburg, KY 41653                                               Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?      No       Yes

 3.39      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.             $29,532.00
           Wells Fargo Bank, NA                                                 Contingent
           c/o Millsap & Singer LLC                                             Unliquidated
           612 Spirit Drive                                                     Disputed
           Chesterfield, MO 63005
                                                                             Basis for the claim:    collection of a debt
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?      No       Yes


 3.40      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $935.00
           Whayne Supply Company                                                Contingent
           10001 Linn Station Road                                              Unliquidated
           Louisville, KY 40232                                                 Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number      4509
                                                                             Is the claim subject to offset?      No       Yes

 3.41      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $495.00
           WQHY-FM                                                              Contingent
           P.O. Box 345                                                         Unliquidated
           Prestonsburg, KY 41653                                               Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Advertising fees
           Last 4 digits of account number      3055
                                                                             Is the claim subject to offset?      No       Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                      related creditor (if any) listed?              account number, if
                                                                                                                                                     any
 4.1       Adam S. Hall, Esq.
           Vanover Hall & Bartley PSC                                                                 Line     3.32
           126 Trivette Drive, #302
                                                                                                             Not listed. Explain
           Pikeville, KY 41501

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 7 of 8
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              Name

           Name and mailing address                                                              On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                 related creditor (if any) listed?              account number, if
                                                                                                                                                any
 4.2       Brock McVey
           PO Box 55487                                                                          Line     3.7
           Lexington, KY 40555
                                                                                                        Not listed. Explain

 4.3       Ernest V. Thomas III
           Thomas & Thomas Attorneys at Law                                                      Line     3.15
           2323 Park Ave.
                                                                                                        Not listed. Explain
           Cincinnati, OH 45206

 4.4       Gray Television Group
           dba WKYT and WYMT                                                                     Line     3.15
           4370 Peachtree Road NE
                                                                                                        Not listed. Explain
           Atlanta, GA 30319

 4.5       I C System Collections
           PO Box 64437                                                                          Line     3.36
           St. Paul, MN 55164-0437
                                                                                                        Not listed. Explain

 4.6       Phil Allen, Attorney
           Richard James & Assoc.                                                                Line     3.14
           4317 NE Thurton Way, #270
                                                                                                        Not listed. Explain
           Vancouver, WA 98662

 4.7       Rich Fatalo, Attorney
           400 W. cummings Park, Ste 4450                                                        Line     3.35
           Woburn, MA 01801
                                                                                                        Not listed. Explain

 4.8       Thomas & Thomas Attorneys at Law
           2323 Park Ave.                                                                        Line     3.27
           Cincinnati, OH 45206
                                                                                                        Not listed. Explain

 4.9       Wells Fargo Bank
           800 Walnut, 6th Floor                                                                 Line     3.39
           Des Moines, IA 50309
                                                                                                        Not listed. Explain


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                     Total of claim amounts
 5a. Total claims from Part 1                                                                       5a.          $                    155,000.00
 5b. Total claims from Part 2                                                                       5b.    +     $                  1,269,323.04

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                            5c.          $                    1,424,323.04




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 8 of 8
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 Fill in this information to identify the case:

 Debtor name         Eastern Air Flow, L.L.C.

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF KENTUCKY

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.1.        State what the contract or                   lease agreement dated
             lease is for and the nature of               November 1, 2016 for 3
             the debtor's interest                        year term. Lease
                                                          payment last paid in
                                                          August 2018 for $1,000
                                                          per month.
                  State the term remaining                14 months                      Gilson Plaza, LLC
                                                                                         c/o Rick Queen
             List the contract number of any                                             418 Adair Road
                   government contract                                                   Lexington, KY 40502


 2.2.        State what the contract or                   Debtor retained
             lease is for and the nature of               attorney to collection
             the debtor's interest                        approx. $64,000 from
                                                          LMR Custom Home
                                                          Construction LLC in
                                                          Madison Circuit Court
                                                          under a flat rate fee of
                                                          $5,000, already paid.
                                                          Discovery is pending.
                  State the term remaining                                               Jaryd Crum, Attorney
                                                                                         Blair Phillip
             List the contract number of any                                             PO Box 339
                   government contract                                                   Paintsville, KY 41240




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Eastern Air Flow, L.L.C.

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF KENTUCKY

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                    Name                           Check all schedules
                                                                                                                                 that apply:

    2.1      Justin Todd                       5721 KY RT 404                                     Clayton E. Holland,               D
             Trout                             David, KY 41616                                    Jr.                               E/F       3.4
                                                                                                                                    G




    2.2      Justin Todd                       5721 KY RT 404                                     Kentucky Labor                    D
             Trout                             David, KY 41616                                    Cabinet                           E/F       3.21
                                                                                                                                    G




    2.3      Justin Todd                       5721 KY RT 404                                     First Commonwealth                D
             Trout                             David, KY 41616                                    Bank                              E/F       3.10
                                                                                                                                    G




    2.4      Justin Todd                       5721 KY RT 404                                     Corken Steel                      D
             Trout                             David, KY 41616                                                                      E/F       3.5
                                                                                                                                    G




    2.5      Justin Todd                       5721 KY RT 404                                     M&T Bank                          D   2.2
             Trout                             David, KY 41616                                                                      E/F
                                                                                                                                    G




Official Form 206H                                                            Schedule H: Your Codebtors                                      Page 1 of 2
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            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.6      Justin Todd                       5721 KY RT 404                                     BB&T Bank                 D   2.1
             Trout                             David, KY 41616                                                              E/F
                                                                                                                            G




    2.7      Justin Todd                       5721 KY RT 404                                     R.E. Michel Company       D
             Trout                             David, KY 41616                                                              E/F       3.27
                                                                                                                            G




    2.8      Justin Todd                       5721 KY RT 404                                     Ferguson Enterprises      D
             Trout                             David, KY 41616                                                              E/F       3.7
                                                                                                                            G




    2.9      Justin Todd                       5721 KY RT 404                                     Gilson Plaza, LLC         D
             Trout                             David, KY 41616                                                              E/F
                                                                                                                            G   2.1




Official Form 206H                                                            Schedule H: Your Codebtors                              Page 2 of 2
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 Fill in this information to identify the case:

 Debtor name         Eastern Air Flow, L.L.C.

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF KENTUCKY

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/16
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                               $402,145.19
       From 1/01/2018 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                             $1,744,855.00
       From 1/01/2017 to 12/31/2017
                                                                                                   Other


       For year before that:                                                                       Operating a business                             $2,361,820.00
       From 1/01/2016 to 12/31/2016
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be adjusted on 4/01/19
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
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    or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,425. (This amount
    may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
    listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
    debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                               Describe of the Property                                      Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case             Court or agency's name and                Status of case
               Case number                                                                  address
       7.1.    Cintas Corp v. Debtor                             collection                 Boyd Circuit Court                           Pending
               18-CI-407                                                                                                                 On appeal
                                                                                                                                         Concluded

       7.2.    Citizens Bank of Kentucky v.                      collection                 Floyd Circuit Court                          Pending
               Debtor, et.al.                                                                                                            On appeal
               17-CI-333
                                                                                                                                         Concluded

       7.3.    Ferguson Enterprises, fdba                        collection                 Fayette Circuit Court                        Pending
               Brock McVey, v. Debtor, et.al.                                                                                            On appeal
               18-CI-3083
                                                                                                                                         Concluded

       7.4.    Gray Television Group v.                          collection                 Floyd District Court                         Pending
               Debtor                                                                                                                    On appeal
               18-C-146
                                                                                                                                         Concluded

       7.5.    Premier Capital Funding, LLC                      collection                 Richmond County Supreme                      Pending
               v. Debtor, et.al.                                                            Court                                        On appeal
               484776                                                                       Staten Island, NY
                                                                                                                                         Concluded




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 Debtor       Eastern Air Flow, L.L.C.                                                                      Case number (if known)



               Case title                                        Nature of case               Court or agency's name and             Status of case
               Case number                                                                    address
       7.6.    R.E. Michel Company, v.                           collection                   Floyd Circuit Court                         Pending
               Debtor, et.al.                                                                                                             On appeal
               17-CI-546
                                                                                                                                          Concluded

       7.7.    GPS Insights v. Debtor                            collection                                                               Pending
                                                                                                                                          On appeal
                                                                                                                                          Concluded

       7.8.    Wells Fargo v. Debtor                             collection                   Floyd Circuit Court                         Pending
               18-CI-570                                                                                                                  On appeal
                                                                                                                                          Concluded

       7.9.    Best Choice v. Debtor                             collection                   Fayette Circuit Court                       Pending
               17-CI-3839                                                                                                                 On appeal
                                                                                                                                          Concluded


       7.10 Kentucky Employer's Mutual                           collection                   Fayette Circuit Court                       Pending
       .    Insurance Company v. Debtor                                                                                                   On appeal
               16-CI-3315
                                                                                                                                          Concluded


       7.11 Fire Alarm & Security System                         collection                   Floyd Circuit Court                         Pending
       .    Co. v. debtor                                                                                                                 On appeal
               18-CI-376
                                                                                                                                          Concluded

       7.12 Greg Jarvis v. Debtor                                collection                   Floyd District Court                        Pending
       .    18-C-32                                              case dismissed in                                                        On appeal
                                                                 April 2018
                                                                                                                                          Concluded


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                      Description of the gifts or contributions                  Dates given                            Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                      Amount of payments received for the loss                   Dates of loss             Value of property
       how the loss occurred                                                                                                                                       lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                        page 3
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 Debtor        Eastern Air Flow, L.L.C.                                                                     Case number (if known)



       Description of the property lost and                      Amount of payments received for the loss                   Dates of loss       Value of property
       how the loss occurred                                                                                                                                 lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).
       Tools were stolen from the Debtor,                        Insurance company issued a check for                                                $10,000.00
       such as a torch purchased in 2016,                        approx. $10,000 in 2016.
       stolen in 2017. A $10,000 insurance
       claim was asserted about 2 years
       ago (end of 2016 or beginning of
       2017) from an employee who did
       not lock the business van. After a
       series of thefts, the debtor required
       its employees to use their own
       tools. The police caught the thief
       (former employee) but was not
       able to recover any tools or
       compensation. A trailer was stolen
       about 9 months ago. There was no
       title on the trailer. $1k value

       In November 2017, the owner of                                                                                                                        $0.00
       the business, Justin Trout, was
       driving his personal vehicle and
       trailer and was involved in a
       vehicle accident. The trailer was
       totaled and the insurance company
       took possession of the trailer and
       paid his personal claim of $7,000.
       Justin Trout purchased the trailer
       back from the insurance company.
       This is disclosed because he put
       company stickers on the trailer,
       but he owned it personally.


 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                 Who was paid or who received                        If not money, describe any property transferred           Dates             Total amount or
                 the transfer?                                                                                                                            value
                 Address
       11.1.     Bunch & Brock, PSC
                 271 W. Short Street
                 805 Security Trust Building                                                                                   $3,500 on
                 Lexington, KY 40507-1217                            Attorney Fees                                             9/7/2018                $3,500.00

                 Email or website address


                 Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
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 Debtor      Eastern Air Flow, L.L.C.                                                                    Case number (if known)



    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                Dates transfers             Total amount or
                                                                                                                      were made                            value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

               Who received transfer?                            Description of property transferred or                  Date transfer            Total amount or
               Address                                           payments received or debts paid in exchange             was made                          value
       13.1 Best Choice Supply                                   debtor paid $10,000 in February 2018 for
       .    Company, Inc.                                        a release of all claims arising out of a
               333 Midland Place                                 collection lawsuit in the Fayette Circuit               February 28,
               Lexington, KY 40505                               Court, Case #17-CI-3839                                 2018                         $10,000.00

               Relationship to debtor
               none


 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To

 Part 8:      Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                Facility name and address                        Nature of the business operation, including type of services            If debtor provides meals
                                                                 the debtor provides                                                     and housing, number of
                                                                                                                                         patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 5
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 Debtor        Eastern Air Flow, L.L.C.                                                                 Case number (if known)




18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and                     Last 4 digits of         Type of account or          Date account was           Last balance
              Address                                            account number           instrument                  closed, sold,          before closing or
                                                                                                                      moved, or                       transfer
                                                                                                                      transferred
       18.1.     Community Trust Bank                            XXXX-                       Checking                 Closed two                           $0.00
                 PO Box 2947                                                                 Savings
                                                                                                                      checking
                 Pikeville, KY 41502-2947                                                                             accounts in
                                                                                             Money Market
                                                                                                                      February 2018.
                                                                                             Brokerage
                                                                                                                      The bank closed
                                                                                             Other                    the accounts as
                                                                                                                      they were
                                                                                                                      negative.

       18.2.     Citizens Bank                                   XXXX-                       Checking                 Company closed                       $0.00
                 Paintsville, KY 41240                                                       Savings                  the checking
                                                                                             Money Market             account with
                                                                                             Brokerage                $0.00 in August
                                                                                                                      2018.
                                                                                             Other


19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

       Depository institution name and address                        Names of anyone with                Description of the contents          Do you still
                                                                      access to it                                                             have it?
                                                                      Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                      Names of anyone with                Description of the contents          Do you still
                                                                      access to it                                                             have it?
       Justin Todd Trout                                              Debtor's owner is in                                                        No
       5721 KY RT 404                                                 possession of the                                                           Yes
       David, KY 41616                                                company's assets



 Part 11:      Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:      Details About Environment Information

For the purpose of Part 12, the following definitions apply:
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      Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
      medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                     Court or agency name and            Nature of the case                            Status of case
       Case number                                                    address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                          Governmental unit name and              Environmental law, if known               Date of notice
                                                                      address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                          Governmental unit name and              Environmental law, if known               Date of notice
                                                                      address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Justin Todd Trout                                                                                                          from inception to
                    5721 KY RT 404                                                                                                             August 31, 2018,
                    David, KY 41616                                                                                                            when the debtor
                                                                                                                                               closed its business.
                                                                                                                                               All financial
                                                                                                                                               information is
                                                                                                                                               stored in
                                                                                                                                               Quickbooks Online,
                                                                                                                                               a cloud based
                                                                                                                                               system.


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 Debtor      Eastern Air Flow, L.L.C.                                                                   Case number (if known)



       Name and address                                                                                                                  Date of service
                                                                                                                                         From-To
       26a.2.       Darrell Madden, CPA                                                                                                  from inception to
                    Bailey Street, #1                                                                                                    August 31, 2018,
                    Hindman, KY 41822                                                                                                    when the debtor
                                                                                                                                         closed its business

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address
       26d.1.       Brock McVey



27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                         Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Justin Todd Trout                              5721 KY RT 404                                      Owner and sole member,                100%
                                                      David, KY 41616                                     president



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.



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               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value
       30.1                                                      Employees received their regular wages
       .                                                         through August 31, 2018. All wages have
               Various employees                                 been paid to employees for 2018 at                                        regular wages to
                                                                 $402,145.19 and in 2017 at $442,095.55.                 2017 and 2018     employees

               Relationship to debtor
               employees


       30.2 Justin Todd Trout
       .    5721 KY RT 404                                       $2,000 in 2017                                                            draws for
               David, KY 41616                                   $2,000 in 2018                                                            services rendered

               Relationship to debtor
               owner


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         September 20, 2018

 /s/ Justin Todd Trout                                                  Justin Todd Trout
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         President

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                      Eastern District of Kentucky
 In re       Eastern Air Flow, L.L.C.                                                                         Case No.
                                                                                  Debtor(s)                   Chapter       7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                     3,500.00
             Prior to the filing of this statement I have received                                        $                     3,500.00
             Balance Due                                                                                  $                         0.00

2.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):

3.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]


6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Adversary actions, evidentiary hearings, litigation or discovery matters or requests, appeals, audits, tax matters,
               divorce matters, relief matters, conversions, sale of assets
                                                                           CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     September 20, 2018                                                           /s/ Matthew B. Bunch
     Date                                                                         Matthew B. Bunch
                                                                                  Signature of Attorney
                                                                                  Bunch & Brock, PSC
                                                                                  271 W. Short Street
                                                                                  805 Security Trust Building
                                                                                  Lexington, KY 40507-1217
                                                                                  (859) 254-5522
                                                                                  Name of law firm




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                                                               United States Bankruptcy Court
                                                                      Eastern District of Kentucky
 In re      Eastern Air Flow, L.L.C.                                                                  Case No.
                                                                                   Debtor(s)          Chapter    7




                                          VERIFICATION OF MAILING LIST MATRIX


            I, the President of the corporation named as the petitioner(s) in the above-styled bankruptcy action, declare under penalty of

perjury that the attached mailing list matrix of creditors and other parties in interest consisting of 6 page(s) is true and correct and

complete, to the best of my (our) knowledge.




 Date:       September 20, 2018                                         /s/ Justin Todd Trout
                                                                        Justin Todd Trout/President
                                                                        Signer/Title



I,         Matthew B. Bunch             , counsel for the petitioner(s) in the above-styled bankruptcy action, declare that the attached
Master Address List consisting of 6 page(s) has been verified by comparison to Schedules D through H to be complete, to the best
of my knowledge. I further declare that the attached Master Address List can be relied upon by the Clerk of Court to provide notice to
all creditors and parties in interest as related to me by the debtor(s) in the above-styled bankruptcy action until such time as any
amendments may be made.




 Date: September 20, 2018                                               /s/ Matthew B. Bunch
                                                                        Signature of Attorney
                                                                        Matthew B. Bunch
                                                                        Bunch & Brock, PSC
                                                                        271 W. Short Street
                                                                        805 Security Trust Building
                                                                        Lexington, KY 40507-1217
                                                                        (859) 254-5522




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                         Adam S. Hall, Esq.
                         Vanover Hall & Bartley PSC
                         126 Trivette Drive, #302
                         Pikeville KY 41501


                         Appalachian Wireless
                         Attn: any Officer
                         PO Box 630734
                         Cincinnati OH 45263-0734


                         BB&T Bank
                         PO Box 1290
                         Whiteville NC 28472


                         Brock McVey
                         PO Box 55487
                         Lexington KY 40555


                         Carrier Enterprise, LLC
                         P.O. Box 32156
                         New York NY 10087-2156


                         Cintas
                         P.O. Box 630910
                         Cincinnati OH 45263-0910


                         Clayton E. Holland, Jr.
                         106 Scott Perry Drive
                         Paintsville KY 41240


                         Corken Steel
                         c/o Robert Richardson
                         7920 Kentucky Drive
                         Florence KY 41042


                         EKB-TV
                         P.O. Box 2200
                         Pikeville KY 41502


                         Ernest V. Thomas III
                         Thomas & Thomas Attorneys at Law
                         2323 Park Ave.
                         Cincinnati OH 45206
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                     Ferguson Enterprises
                     fdba Brock McVey
                     c/o True Guarnieri Ayer LLP
                     124 Clinton Street
                     Frankfort KY 40601


                     FESCO
                     868 Dr. W.J. Hodge Street
                     Louisville KY 40210


                     Fire Alarm & Security System Co
                     c/o Bornstein& Bornstein PSC
                     4018 Bishop Lane
                     Louisville KY 40218


                     First Commonwealth Bank
                     3112 N. Arnold Avenue
                     Prestonsburg KY 41653-1260


                     Floyd Cty Broadcasting - WMDJ FM-100
                     P.O. Box 1530
                     Martin KY 41649


                     FTL Capital Partners, LLC
                     aka FTL Finance
                     c/o Lathrop Gage - Ben C. Struby
                     2345 Grand Blvd., Suite 2200
                     Kansas City MO 64108-2618


                     Gilson Plaza, LLC
                     418 Adair Road
                     Lexington KY 40502


                     Gilson Plaza, LLC
                     c/o Rick Queen
                     418 Adair Road
                     Lexington KY 40502


                     GPS Insight
                     7201 E. Henkel Way #400
                     Scottsdale AZ 85255


                     Gray Television Group
                     dba WKYT and WYMT
                     4370 Peachtree Road NE
                     Atlanta GA 30319
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                     Gray Television Group, Inc.
                     1801 Halstead Blvd
                     Tallahassee FL 32309


                     Hajoca Corporation
                     c/o David O'Brien, Attorney @ Dal, Inc.
                     PO Box 162
                     Clifton Heights PA 19018


                     Hazard Fire & Safety
                     3962 KY 15
                     KY 41707


                     Hughes Supply
                     990 Pedigo Way
                     Bowling Green KY 42103


                     I C System Collections
                     PO Box 64437
                     St. Paul MN 55164-0437


                     Internal Revenue Service
                     PO Box 7346
                     Philadelphia PA 19101-7346


                     Jackson Systems, LLC
                     5418 Elmwood Ave.
                     Indianapolis IN 46203-6025


                     Jaryd Crum, Attorney
                     Blair Phillip
                     PO Box 339
                     Paintsville KY 41240


                     Justin Todd Trout
                     5721 KY RT 404
                     David KY 41616


                     Kentucky Employer's Mutual Insurance Co
                     c/o John E. Hinkel, Jr., Esq.
                     Fowler Bell PLLC
                     300 W. Vine Street, #600
                     Lexington KY 40507
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                     Kentucky Labor Cabinet
                     Dept. of Workers' Claims
                     657 Chamberlin Ave.
                     Frankfort KY 40601


                     Kentucky Revenue Cabinet
                     Attn: Legal Dept - Bankruptcy
                     PO Box 5222
                     Frankfort KY 40602-5222


                     KochAir
                     1900 W. Lloyd Expressway
                     Evansville IN 47712


                     M&T Bank
                     PO Box 17292
                     Baltimore MD 21203


                     Martin Gas, Inc.
                     P.O. Box 783
                     Hindman KY 41822


                     Modern Construction, Inc.
                     P.O. Box 187
                     Stanville KY 41659


                     National Pen Company
                     P.O. Box 847203
                     Dallas TX 75284-7203


                     Nationwide
                     328 High Land Park Dr.
                     Richmond KY 40475


                     Phil Allen, Attorney
                     Richard James & Assoc.
                     4317 NE Thurton Way, #270
                     Vancouver WA 98662


                     R.E. Michel Company
                     One R.E. Michel Drive
                     Glen Burnie MD 21060
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                     R.L. Craig Company, Inc.
                     11524 Commonwealth Drive
                     Louisville KY 40299


                     Rich Fatalo, Attorney
                     400 W. cummings Park, Ste 4450
                     Woburn MA 01801


                     Sinclair Broadcast Group - WDKY
                     P.O. Box 206270
                     Dallas TX 75320-6270


                     Square Capital
                     1455 Market Street, #600
                     San Francisco CA 94103


                     State Electric Supply
                     PO Box 890889
                     Charlotte NC 28289


                     The UPS Store
                     4145 N. Mayo Trail
                     Pikeville KY 41501


                     Thermal Equipment Sales, Inc.
                     680 Bizzell Drive
                     Lexington KY 40510


                     Thomas & Thomas Attorneys at Law
                     2323 Park Ave.
                     Cincinnati OH 45206


                     Trane Supply
                     115 49th Street
                     Brooklyn NY 11232


                     US Bank NA
                     PO Box 3427
                     Oshkosh WI 54903


                     Valassis Direct Mail
                     14550 Torrey Chase Blvd. #500
                     Houston TX 77040
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                     Verizon Wireless
                     524 W. New Circle Road, Ste. 100
                     Lexington KY 40511


                     W. Va. Electric Supply Co.
                     250 12th Street West
                     Huntington WV 25704


                     WDOC, Inc.
                     P.O. Box 345
                     Prestonsburg KY 41653


                     Wells Fargo Bank
                     800 Walnut, 6th Floor
                     Des Moines IA 50309


                     Wells Fargo Bank, NA
                     c/o Millsap & Singer LLC
                     612 Spirit Drive
                     Chesterfield MO 63005


                     Whayne Supply Company
                     10001 Linn Station Road
                     Louisville KY 40232


                     WQHY-FM
                     P.O. Box 345
                     Prestonsburg KY 41653
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                                                               United States Bankruptcy Court
                                                                      Eastern District of Kentucky
 In re      Eastern Air Flow, L.L.C.                                                                          Case No.
                                                                                   Debtor(s)                  Chapter    7




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Eastern Air Flow, L.L.C. in the above captioned action, certifies that the following
is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of
any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
 Justin Todd Trout
 5721 KY RT 404
 David, KY 41616




    None [Check if applicable]




 September 20, 2018                                                    /s/ Matthew B. Bunch
 Date                                                                  Matthew B. Bunch
                                                                       Signature of Attorney or Litigant
                                                                       Counsel for Eastern Air Flow, L.L.C.
                                                                       Bunch & Brock, PSC
                                                                       271 W. Short Street
                                                                       805 Security Trust Building
                                                                       Lexington, KY 40507-1217
                                                                       (859) 254-5522




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